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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge Raymond P. Moore

   Civil Action No. 16-cv-00671-RM-MJW

   ISABEL VALVERDE;
   MARIA SONIA MICOL SIMON; and those similarly situated,

          Plaintiffs,

   v.

   XCLUSIVE STAFFING, INC.;
   XCLUSIVE MANAGEMENT, LLC D.B.A. XCLUSIVE STAFFING;
   XCLUSIVE STAFFING OF COLORADO, LLC;
   DIANE ASTLEY;
   OMNI INTERLOCKEN COMPANY, L.L.C.;
   OMNI HOTELS MANAGEMENT CORPORATION;
   JMIR DTC OPERATOR LLC; and
   MARRIOTT INTERNATIONAL, INC.

         Defendants.
   ______________________________________________________________________________

                                      ORDER
   ______________________________________________________________________________

          This matter is before the Court on the “Report and Recommendation on Plaintiffs’

   Motion for Collective Certification of their FLSA Claims against all Defendants Except for

   HCA-HealthONE LLC (Docket No. 139)” (the “Recommendation”) (ECF No. 207)

   recommending that Plaintiffs’ Motion for Collective Certification of their FLSA Claims against

   all Defendants Except for HCA-HealthONE LLC (the “Motion”) (ECF No. 139) be granted.

   Defendants have filed an objection (the “Objection”) (ECF No. 212), to which Plaintiffs have

   filed a response (the “Response”) (ECF No. 225). Upon consideration of the Recommendation,

   Objection, Response, relevant parts of the record, and the applicable statutes and case law, and
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   being otherwise fully advised, the Recommendation is ACCEPTED IN PART and REJECTED

   IN PART WITHOUT PREJUDICE, and Defendants’ Objection is OVERRULED IN PART and

   SUSTAINED IN PART.

       I.       BACKGROUND

            The parties are well versed with the background of this case, so it will not be repeated

   here. (See ECF No. 193, Order on recommendation on Defendants’ Motion to Dismiss.) At

   issue now is whether the Court should grant Plaintiffs’ request for conditional certification of

   their Fair Labor Standards Act (“FLSA”) claims against the remaining Defendants,1 based on

   two alleged policies: (1) the $3.00 deduction policy; and (2) the 30-minute meal deduction

   policy. The first is the alleged policy of deducting $3.00 from each employee’s paycheck for the

   cost of issuing the check, while the second is the alleged policy of automatically deducting 30

   minutes each day for meal breaks, whether or not employees were allowed to take them.

   Discovery has been stayed in this case.

            Plaintiffs’ Motion requested the following:

               Conditionally certify their FLSA claims against all Defendants except HCA-
                HealthONE LLC under 29 U.S.C. § 216(b), a nationwide certification as to the
                Xclusive Defendants2 (hereafter “Xclusive”), along with a certification of three
                subclasses consisting of Hotel Defendants;3

               Order the parties to meet and confer about notice and its method of distribution;

               Order the production of names and contact information for members of the
                conditionally-certified opt-in plaintiffs; and


   1
     HCA-HealthONE LLC d/b/a Sky Ridge Medical Center has settled and is no longer a defendant in this action and
   its name has been removed from the caption. As used herein, “Defendants” refer to the remaining defendants.
   2
     Consisting of Xclusive Staffing, Inc.; Xclusive Management, LLC d.b.a. Xclusive Staffing; Xclusive Staffing of
   Colorado, LLC; and Diane Astley.
   3
     Defendants Omni Interlocken Company, LLC, Omni Hotels Management Corporation, JMIR DTC Operator LLC,
   and Marriott International, LLC.

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                  Issue notice consistent with potential equitable tolling arguments of the opt-in
                   plaintiffs.

   (ECF No. 139, pages 1-2.)

               The Magistrate Judge recommended the following:

                  That the FLSA claim based on the two policies be conditionally certified as a
                   collective action;

                  That such certified opt-in plaintiffs be nationwide, along with subclasses for the Hotel
                   Defendants;

                  That Plaintiffs may send a Hoffman-La Roche4 notice to potential opt-in plaintiffs;

                  That the best interests of justice may be served by tolling the statute of limitations for
                   opt-in plaintiffs during the pendency of a motion for conditional certification, i.e.,
                   from the date in which the Motion was filed (December 9, 2016) until 90-days after
                   the opt-in plaintiffs receive notice of this lawsuit; and

                  That Defendants be ordered to provide the names and contact information of potential
                   opt-in plaintiffs.

   Defendants’ Objection followed.

         II.       LEGAL STANDARD

               A. Dispositive or Nondispositive?

               Defendants’ objection assumes the Motion is dispositive, as does the Recommendation.

   Plaintiffs contend it is not. The issue has apparently not been resolved by the Tenth Circuit. On

   this record, the Court finds it need not decide as, under either standard, the Court reaches the

   same conclusion.

               B. Conditional Certification

               The Magistrate Judge correctly set forth the standard for conditional certification so it

   need not be repeated. See Thiessen v. General Electrical Capital Corp., 267 F.3d 1095, 1105

   4
       Hoffman–La Roche Inc. v. Sperling, 493 U.S. 165 (1989).

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   (10th Cir. 2001) (approving the two-step “ad-hoc” approach). The Court will address and apply

   such standards in ruling on the Objection.

          III.      ANALYSIS

                 A. Defendants’ Objections

                 Defendants raise four objections. The Court addresses each in turn.

                    1. “Substantial Allegations”

                 Defendants argue that Plaintiffs have failed to present substantial allegations that the two

   alleged policies “violated the FLSA,” or that that the two named Plaintiffs (much less the

   nationwide class) were subjected to these policies. (Objection, p. 4, italics in original, bold

   omitted.) The Court is not persuaded by Defendants’ arguments.

                 First, as to the 30-minute meal deduction policy, the Court agrees with the Magistrate

   Judge’s recommendation. Here, contrary to Defendants’ arguments, Plaintiffs have presented

   substantial allegations that they worked with the employer’s knowledge through unpaid meal

   breaks. This is supported by not only Mr. Trejo’s Declaration but also the allegations in the

   Amended Complaint. (See, e.g., ECF No. 52, ¶¶ 60-71 (“automatically deducted”; “did not

   receive breaks” “most of the time”; “ordered to indicate” or “indicate[d]” the break irrespective

   of whether he took it; “only remembers receiving one 30 minute break ever”5 where she was

   supervised by Xclusive supervisors).) See generally 29 C.F.R. § 785.13 (“In all such cases it is

   the duty of the management to exercise its control and see that the work is not performed if it

   does not want it to be performed. It cannot sit back and accept the benefits without

   compensating for them. The mere promulgation of a rule against such work is not enough.


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       Emphasis in original.

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   Management has the power to enforce the rule and must make every effort to do so.”). Further,

   contrary to Defendants’ contention, the Court does not find that Mr. Trejo’s Declaration falls

   short of showing Defendants’ knowledge: he stated he complained and an Xclusive manager

   told him it was “policy.” (ECF No. 196-1, ¶15.) And, further, Xclusive manager’s alleged

   response that she “ha[d] to take out the break”6 surely supports the logical conclusion that

   Xclusive was not about to reverse such automatically deducted 30-minute break. Finally, it’s

   difficult to argue that one’s employer did not know an employee did not have a break when there

   are allegations the employer did not give the employee one. Of course, whether Defendants

   actually violated the FLSA goes to the merits of the case; an issue that is inappropriate for

   determination at this juncture. See Avendano v. Averus, No. 14-cv-01614-CMA-MJW, 2015 WL

   1529354, at *4 (D. Colo. Mar. 31, 2015) (“In making the decision as to conditional certification,

   the court does not weigh evidence, resolve factual disputes, or rule on the merits of plaintiffs’

   claims.” (quotation marks and citation omitted)). In summary, the record, taken as a whole, is

   sufficient under the “fairly lenient standard” for determination of whether plaintiffs are

   “similarly situated” under 29 U.S.C. § 216(b) as to the 30-minute meal deduction policy. See

   Thiessen, 267 F.3d at 1103 (finding no error by district court in adopting ad hoc approach, which

   applied a “fairly lenient standard for what constituted ‘similarly situated’”).

              The same holds true as to the $3.00 deduction policy, which allegations are further

   substantiated by Xclusive’s 2015 and 2016 “Standard Application Packet” submitted on behalf




   6
       ECF No. 196-1 at ¶15 (emphasis added).

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   of all Defendants. (ECF No. 139-2.) Such written “employment policies” specifically state a

   “$3.00 process fee will be deducted on each check you receive.” (ECF No. 139-2, pp. 7, 9.)7

           Accordingly, Defendants’ first objection is overruled.

                2. Nationwide Certification

           Defendants object to the recommended nationwide certification, arguing the allegations

   are insufficient to show the putative opt-in plaintiffs from other states were (or are) subjected to

   the two alleged policies. The Court agrees as to the 30-minute meal deduction policy but not as

   to the $3.00 deduction policy.

           Here, as to the $3.00 deduction policy, the Magistrate Judge relied on Plaintiffs’

   allegations such as Xclusive’s national policies are controlled centrally from its Colorado

   headquarters, Defendant Astley’s creation of policies affecting all branches, and the issuance of

   checks by Xclusive and signed by Defendant Astley. Such reliance was not misplaced.

   Plaintiffs’ allegations, coupled with the evidence, e.g., the $3.00 process fee contained in

   Xclusive’s written “employment policies,” are sufficient to show that nationwide certification is

   warranted as to the $3.00 deduction policy. The 30-minute meal deduction policy, however, is a

   different matter.

           While it is true Plaintiffs allege that Xclusive Management manages the state subsidiaries

   and their employees, and Xclusive controls the operations centrally out of its Colorado

   headquarters and the like, on the current record, the allegations and evidence are insufficient to

   show the 30-minute meal policy was – or how it was – implemented in other states. Plaintiffs’


   7
    It should also be noted that Defendants filed a Motion to Dismiss which included a request to dismiss Plaintiffs’
   FLSA claims. The $3.00 policy survived for both Plaintiffs, and the 30-minute meal deduction policy survived for
   Plaintiff Valverde. Enough said.

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   allegations and evidence, however, are sufficient as to Xclusive clients in this state. Defendants’

   arguments to the contrary are rejected.8

            Accordingly, Defendants’ second objection is overruled as to the $3.00 deduction policy

   but sustained in part as to the 30-minute meal deduction policy. As to this latter policy,

   nationwide certification is rejected (at this time) but certification for Colorado is permitted.9

                3. Temporal Scope of Opt-in Plaintiffs and Tolling

            Defendants object as the recommendation did not limit the temporal scope of the classes;

   they assert any classes or subclasses should be limited to employees who worked for Xclusive

   within three years of any final order approving certification. In addition, Defendants argue the

   statute of limitations should not be tolled for potential opt-in plaintiffs. The Magistrate Judge

   recommended tolling of the statute of limitations “in the best interests of justice” from the date

   Plaintiffs filed their certification motion until 90 days after opt-in plaintiffs receive notice of this

   action. The Court agrees there should be a temporal limitation and finds, in this instance, that it

   should be three years from the date in which the complaint was filed, i.e., three years before

   March 22, 2016. Further, the Court finds that, under the facts and circumstances of this case, it

   will adopt the “wait and see” approach as to any tolling.10 Accordingly, it rejects – without

   prejudice as premature – the Magistrate Judge’s recommendation that tolling should be had now.


   8
     As discovery has been stayed, the Court denies the Motion for nationwide certification as to the 30-minute meal
   deduction policy without prejudice. See Saarela v. Union Colony Protective Servs., Inc., No. 13-cv-01637-MSK-
   MJW, 2014 WL 3408771, at *4 (D. Colo. July 14, 2014) (denying, without prejudice, motion for conditional
   certification with leave to renew request “[u]pon a more substantial showing’’ “of a policy that applied with equal
   force to other similarly situated employees”).
   9
     Defendants object to nationwide certification or any certification at all. (Objection, p. 12 (“The Court should,
   therefore, deny Plaintiffs’ request for certification of a nationwide FLSA class and, for that matter, deny certification
   of all proposed classes or subclasses.).)
   10
      Defendants acknowledge this may be “the better approach.” (Objection, p. 19.)
     In a footnote, Defendants request leave to provide additional briefing on the “wait and see” approach if this Court
   were inclined to adopt it. (Objection, p. 20 n.6.) The request is denied as Defendants already had an opportunity to

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            The Court starts with equitable tolling. Here, Defendants cite to the general standard11

   but fail to recognize on what the Magistrate Judge focused – the “best interests of justice” to toll

   the statute of limitations during the pendency of Plaintiffs’ Motion. In this case, there was a

   delay in reaching a final decision on whether to grant conditional certification. Here, Plaintiffs

   filed their Motion on December 9, 2016 and it became at issue on January 30, 2017. There was

   a motion to dismiss, however, which could have impacted the resolution of the Motion. The

   order resolving the motion to dismiss was not decided until September 5, 2017. The

   Recommendation on the Motion was thereafter issued on October 31, 2017, to which an

   objection and response was filed. Thus, the Motion was not ripe for resolution before this Court

   until December 12, 2017. It is now more than eight months later. But, such delays were not due

   to inaction or delays on the part of Plaintiffs (or potential opt-in plaintiffs or Defendants) but,

   rather, to the case load of the court. This, it appears, is what the Magistrate Judge was

   addressing.

            Plaintiffs’ Motion, however, did not request any tolling now or on this basis;12 instead,

   Plaintiffs asked the court to consider the potential future application of equitable tolling in

   considering the temporal scope of the class of workers who should receive notice. That Plaintiffs

   did not request tolling now in their Motion is beside the point as no party has provided any

   authority to indicate the court could not do so sua sponte. This brings the Court to the questions

   of when to decide equitable tolling and, relatedly, whether equitable tolling should be had.

   brief the issue because Plaintiffs raised it in their Motion. Further, Plaintiffs raise it in their response to the
   Objection, to which Defendants did not request leave to file any reply.
   11
      Under that standard, equitable tolling may be had if the movant shows (1) that he/she has been pursuing his/her
   rights diligently; and (2) that some extraordinary circumstance stood in his/her way and prevented timely filing.
   Holland v. Florida, 560 U.S. 631, 649 (2010).
   12
      Of course, at that time, Plaintiffs had no idea how long it would take the court to rule on the motion to dismiss or
   the Motion. That is, however, generally the case with any pending motion.

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           The Court’s research has revealed no Tenth Circuit decision which has addressed the

   issue at hand. Such research has, however, revealed different approaches to the issue within and

   without this District, as aptly summarized by the court in Brashier v. Quincy Prop., LLC, No.

   3:17-cv-3022, 2018 WL 1210963 (C.D. Ill. Mar. 8, 2018).

           Some courts, including courts in this district,13 find that long delays in ruling on a motion

   for conditional certification may justify equitable tolling. See, e.g., Bracamontes v. Bimbo

   Bakeries U.S.A., Inc., No. 15-cv-02324-RBJ, 2017 WL 4621276, at *2 (D. Colo. Aug. 3, 2017)

   (equitably tolling statute of limitations due to court’s delay to getting to plaintiff’s motion for

   conditional certification); Collins v. Dkl Ventures, LLC, No. 16-cv-00070-MSK-KMT, 2016 WL

   852880, at *3 (D. Colo. Mar. 4, 2016) (recognizing tolling appropriate where, even if pending

   motion to dismiss was not granted, “potential plaintiffs’ recovery diminishes while it is pending,

   especially where the action is stayed in the meantime”; stating, however, delay “limited to

   litigation in its normal course” is insufficient); Bergman v. Kindred HealthCare, Inc., 949 F.

   Supp. 2d 852, 860-1 (N.D. Ill. 2013) (tolling running of statute of limitations as “long delay in

   issuing a ruling [on motion for conditional certification] is an extraordinary circumstance”);

   Kutzback v. LMS Intellibound, LLC, 233 F. Supp. 3d 623, 628-32 (W.D. Tenn. 2017) (applying

   five factors, finding equitable tolling warranted due to delays during the collective action

   certification process).

           Other courts “require strict compliance with the equitable tolling standard – diligence and

   extraordinary circumstances,” in recognition “that Congress clearly intended that some period of


   13
     Tolling has also been found appropriate when the defendant was in sole possession of the names and contact
   information of the potential opt-in plaintiffs. Stransky v. HealthONE of Denver, Inc., 868 F. Supp. 2d 1178, 1181-
   82 (D. Colo. 2012).

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   time would pass while the courts considered whether to conditionally certify a class but did not

   see fit to stop the statute of limitations until a potential plaintiff opted into the case – an action

   that often does not occur until after a class is conditionally certified and notice is sent.”

   Brashier, 2018 WL 1210963, at *3 (collecting cases). See Avendano v. Averus, Inc., No. 14-cv-

   01614-CMA-MJW, 2015 WL 1529354, at *9 (D. Colo. Mar. 31, 2015) (rejecting request to

   equitably toll from date plaintiff filed motion for certification as he failed to meet standard for

   tolling as to the potential opt-in plaintiffs, but did not specifically address whether long delays

   would be sufficient to justify relief). But cf. Cal. Pub. Employees’ Retirement System v. ANZ

   Securities, Inc., -- U.S. --, 137 S. Ct. 2042, 2052, 198 L. Ed. 2d 584 (2017) (Recognizing the

   American Pipe14 tolling rule “did not consider the criteria of the formal doctrine of equitable

   tolling in any direct manner” but “reveals a rule based on traditional equitable powers, designed

   to modify a statutory time bar where its rigid application would create injustice.”).

              “Still other courts find that the issue should not be addressed until after conditional class

   certification is granted or after the defendant challenges a plaintiff’s or opt-in party’s claim on

   statute of limitations grounds.” Brashier, 2018 WL 1210963, at *3 (collecting cases); see Geiger

   v. Z-Ultimate Self Defense Studios LLC, No. 14-cv-00240-REB-NYW, 2015 WL 1139843, at *3

   (D. Colo. Mar. 11, 2015) (Court essentially adopted a “wait and see” approach: “If a particular

   plaintiff, putative opt-in plaintiff, or group of plaintiffs demonstrates circumstances that justify

   equitable tolling, then equitable tolling may be appropriate for that particular plaintiff or group of

   plaintiffs.”). This Court has previously indicated this approach may be appropriate, based on the




   14
        American Pipe & Constr. Co. v. Utah, 414 U.S. 538 (1974).

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   record then before it.15 See Santich v. VCG Holdings Corp., No. 17-cv-00631-RM-MEH (D.

   Colo. filed Mar. 1, 2018) (Stating, in denying without prejudice motion to toll, “the relief they

   [plaintiffs] seek must wait until such an inquiry is no longer senseless, i.e., when the individual

   putative plaintiffs have consented to join this action and moved to toll the statute of limitations,

   if at all.”). See generally Lysyj v. Milner Distribution Alliance, Inc., No. 13-cv-01930-RM-

   MJW, 2014 WL 273214, at *4 (D. Colo. Jan. 24, 2014) (stating it is up to defendants, at the

   second stage, to demonstrate that putative class members’ claims are barred by a defense, such as

   the statute of limitations). And, on the record at hand, the Court finds it is appropriate here.

   Thus, the Court finds the issue of equitable tolling may be raised later, if appropriate, and

   resolved then, as appropriate. As such, the recommendation to toll is rejected without prejudice

   to individual opt-in plaintiffs moving to equitably toll the statute of limitations. See generally

   Bitner v. Wyndham Vacation Resorts, Inc., 301 F.R.D. 354, 363-4 (W.D. Wis. 2014).

            With such finding, however, as the court did in Brashier, the Court needs to ensure that

   notice is sent to those individuals who would fall within the potential group of opt-in plaintiffs if

   the statute of limitation is ultimately tolled. Thus, as stated, the Court will allow notice to be

   given to workers employed on or after March 22, 2013, i.e., three years from the date in which

   the complaint was filed on March 22, 2016. See Beltran v. InterExchange, Inc., No. 14-cv-

   03074-CMA-CBS, 2017 WL 4418684, at *7 n.4 (D. Colo. Apr. 28, 2017) (allowing expanded

   notice; court had reserved ruling on disputed statute of limitation issue).16



   15
      Defendants’ reliance on Abdulina v. Eberl’s Temp. Servs., Inc., No. 14-cv-00314-RM-NYW, 2015 WL 4624251
   (D. Colo. Aug. 4, 2015), is misplaced. There, no party objected to the recommendation to deny equitable tolling and
   the basis asserted for tolling was apparently plaintiff’s delay in filing her motion for conditional certification. The
   Court reviews the issue here under a different standard, and under a different basis.
   16
      Defendants’ reliance on Abdulina, supra, is again misplaced. In that case tolling was no longer at issue.

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            B. Notice

            Plaintiffs submitted no proposed notice and consent form for the court’s consideration.

   The Magistrate Judge recommended the following occur within 14 days after certification of an

   FLSA opt-in class: (1) Defendants provide the names and contact information of potential opt-in

   plaintiffs; and (2) the parties submit a proposed notice and method of distribution to potential

   opt-in plaintiffs. Defendants did not raise any objections to this aspect of the recommendation

   and, upon review, the Court agrees. The Court recognizes that former defendant HCA-

   HealthONE LLC has settled; therefore, any certification and notice would not apply to it.

      IV.      CONCLUSION

            Based on the foregoing, the Court ORDERS as follows:

            (1) That the “Report and Recommendation on Plaintiffs’ Motion for Collective

               Certification of their FLSA Claims against all Defendants Except for HCA-

               HealthONE LLC (Docket No. 139)” (ECF No. 207) is REJECTED IN PART

               WITHOUT PREJUDICE and ACCEPTED IN PART as stated herein;

            (2) That Defendants’ Objections to Magistrate Judge’s Report and Recommendation on

               Motion for Collective Action Certification (ECF No. 212) is OVERRULED IN

               PART and SUSTAINED IN PART as stated herein;

            (3) That Plaintiffs’ Motion for Collective Certification of their FLSA Claims against all

               Defendants Except for HCA-HealthONE LLC (ECF No. 139) is GRANTED IN

               PART and DENIED WITHOUT PREJUDICE IN PART as stated herein;

            (4) That the opt-in collective action is conditionally certified as a nationwide class

               against Xclusive Defendants for the $3.00 deduction policy:


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            ALL CURRENT AND FORMER HOURLY EMPLOYEES OF XCLUSIVE
            STAFFING, INC., OR ONE OF ITS SUBSIDIARIES, THAT WORKED AT ONE
            OF ITS CLIENTS’ LOCATIONS (EXCEPT HCA-HEALTHONE LLC)
            EMPLOYED ON OR AFTER MARCH 22, 2013, AND HAD $3.00 DEDUCTED
            FROM THEIR PAYCHECK AS A “FEE”;

         (5) That the opt-in collective action is conditionally certified as a Colorado class against

            Xclusive Defendants for the 30-minute meal deduction policy:

            ALL CURRENT AND FORMER HOURLY EMPLOYEES OF XCLUSIVE
            STAFFING, INC., OR ONE OF ITS SUBSIDIARIES, THAT WORKED AT ONE
            OF ITS CLIENTS’ COLORADO LOCATIONS (EXCEPT HCA-HEALTHONE
            LLC) EMPLOYED ON OR AFTER MARCH 22, 2013;

         (6) That the opt-in collective action is conditionally certified as to the following

            Colorado subgroups:

                The 216(b) Omni Subgroup:

                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF XCLUSIVE
                STAFFING, INC., OR ONE OF ITS SUBSIDIARIES, THAT WORKED AT
                THE OMNI INTERLOCKEN HOTEL (500 INTERLOCKEN BLVD,
                BROOMFIELD, CO 80021) ON OR AFTER MARCH 22, 2013;

                216(b) Hyatt Subgroup:

                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF XCLUSIVE
                STAFFING, INC., OR ONE OF ITS SUBSIDIARES, THAT WORKED AT
                THE HYATT DENVER TECH CENTER HOTEL (7800 E TUFTS AVE,
                DENVER, CO 80237) ON OR AFTER MARCH 22, 2013;

                216(b) Marriott Subgroup:

                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF XCLUSIVE
                STAFFING, INC., OR ONE OF ITS SUBSIDIARES, THAT WORKED AT
                THE MARRIOTT DENVER TECH CENTER HOTEL (4900 S. SYRACUSE
                STREET DENVER, CO 80237) ON OR AFTER MARCH 22, 2013;

         (7) That the parties shall meet and confer and submit to the Court a proposed notice and

            consent form, along with method of distribution, to potential opt-in plaintiffs within


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            14 days of this Order. Representative notice and consent form which the Court has

            previously approved in another case are attached for the parties’ reference. In the

            event the parties cannot agree to a mutually agreeable proposed notice and consent

            form, the parties shall file their respective proposed notice and consent form for the

            court to resolve. Any proposed notice and consent form, in Word or WordPerfect

            format, shall also be forwarded to Chambers at Moore_Chambers@cod.uscourts.gov;

            and

         (8) That Defendants shall have 14 days from the date of this Order to provide Plaintiffs

            with a list of all employees constituting the groups and subgroups, with their dates of

            employment and last known addresses and phone numbers in an agreed upon format.

         DATED this 31st day of August, 2018.

                                                      BY THE COURT:



                                                      ____________________________________
                                                      RAYMOND P. MOORE
                                                      United States District Judge




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